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AO I 06 (Rev. 04/ 10) Application for a Search Warrant                                                                Flt-ED
                                        UNITED STATES DISTRICT                                 Cou RT                   NOV O7 2019
                                                                        for the
                                                                                                              C LUlK US l;l.3 i Hie' r COURT
                                                            Southern District of California                SOUTH i:::t1r,J DISTR IC I O F CALIFO RNIA
                                                                                                           BY                                DEP UTY

              In the Matter of the Search of                               )
          (Briefly describe the property to be searched                    )
           or identify the person by name and address)
        Huawei Cellula r Telephone ALE-L23 P8 Lite
                                                                           )
                                                                           )
                                                                                       Case No.        19MJ49 6 .
                 IMEI: 860715033266729                                     )
                                                                           )

                                               APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
pr,operf)J. (o be, searched and ~ive its locqfion):
  ;:,ee Attacnment A, mcnrporatea by reference .


located in the      --------
                             Southern                 District of              California             , there is now concealed (iden tify the
person or describe the property to be seized):
  See Attachment B, incorporated by reference.


           The basis for the search under Fed. R. Crim. P. 4l(c) is (check one or more):
                  ri evidence of a crime;
                  0 contraband, fruits of crime, or other items illegally possessed;
                  0 property designed for use, intended for use, or used in committing a crime;
                  0 a person to be arrested or a person who is unlawfully restrained.
           The search is related to a violation of:
              Code Section                                                             Offense Description
        21 U.S.C. §§ 952, 960 and 963                  Importation of controlled substances and conspiracy to do the same



          The lJ_pplication is based on these facts :
         See Affidavit of HSI Special Agent Jeffrey Rich, incorporated by reference.


           ii Continued on the attached sheet.
           0 Delayed notice of            days (give exact ending date if more than 30 days: _ _ _ _ _ ) is requested
                under 18 U .S.C. § 3103a, the basis of which is set fort~               sheet.



                                                                                                     Applicant 's signature

                                                                                                  Special Agent Jeffrey Rich
                                                                                                     Printed name and title

Sworn to before me and signed in my presence.


Date:          I i/r}(I                                                           ,~-~                 Judge's signature

City and state: San Diego, California                                                         HON . ALLISON H. GODDARD
                                                                                                     Printed name and title
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                                 ATTACHMENT A

                          PROPERTY TO BE SEARCHED

The following property is to be searched:

            CELLULAR TELEPHONE
            Huawei ALE-L23 PS Lite
            IMEI: 860715033266729
            ("Target Device")


currently in the possession of Customs and Border Protection, 9495 Customshouse
Plaza, San Diego, California 92154.
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                                   ATTACHMENT B

                                ITEMS TO BE SEIZED

      Authorization to search the Target Device described in Attachment A includes
the search of disks, memory cards, deleted data, remnant data, slack space, and
temporary or permanent files contained on or in Target Device for evidence described
below. The seizure and search of Target Device shall follow the search methodology
described in the affidavit submitted in support of the warrant.

      The evidence to be seized from Target Device will be electronic records,
communications, and data such as emails, text messages, chats and chat logs from
various third-party applications, photographs, audio files, videos, and location data, for
the period of January 1, 2019 to April 2, 2019:                                           -

      a.     tending to indicate efforts to import methamphetamine, or some other
             controlled substances from Mexico into the United States;

      b.     tending to identify accounts, facilities, storage devices, and/or services-
             such as email addresses, IP addresses, and phone numbers-used to
             facilitate the importation of methamphetamine, or some other controlled
             substances from Mexico into the United States;

      c.     tending to identify coconspirators, criminal associates, or others involved
             in importation of methamphetamine, or some other controlled substances
             from Mexico into the United States;

      d.     tending to identify travel to or presence at locations involved in the
             importation of methamphetamine, or some other controlled substances
             from Mexico into the United States;

      e.     tending to identify the user of, or persons with control over or access to,
             the Target Device; and/or

      f.     tending to place in context, identify the creator or recipient of, or establish
             the time of creation or receipt of communications, records, or data involved
             in the activities described above;

which are evidence of violations of Title 21, United States Code, Sections 952,960, and
963.
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 1                                           AFFIDAVIT
 2             I, Jeffrey Rich, being duly sworn, hereby state as follows:
 3                                        INTRODUCTION
 4              1.    This affidavit supports an application for a warrant to search the following
 5 II electronic device:
 6
                      a.    CELLULAR TELEPHONE
 7                          Huawei ALE-L23 PS Lite
                            IMEI: 860715033266729
 8
                            ("Target Device")
 9
10 II as described in Attachments A, and seize evidence of crimes, specifically, violations of
11 II Title 21, United States Code, Sections 952, 960, and 963.              This search supports an
12 II investigation and prosecution of Maria Guadalupe VILLA-Uc ("VILLA") for the crimes
13 II m'e ntioned above. A factual explanation supporting probable cause follows.
14              2.    On or about April 2, 2019, at approximately 12:41 pm, Maria Guadalupe
15 II VILLA-Uc entered the U.S. from Mexico at the San Ysidro Port of Entry in San Diego,
16 II California. VILLA, a citizen of the Republic of Mexico, was the driver and sole occupant
17 II of a green 2013 Ford Escape bearing Baja California license plate AKN7291 (the
18 II "Vehicle"). A Customs and Border Protection Officer (CBPO) inspected the Vehicle and
19 II discovered 94 plastic-wrapped packages weighing approximately (47.76 kilograms)
20 II 105.25 pounds. One of the 94 plastic-wrapped packages contained a white crystalline
21   11   substance which field tested positive for the chemical properties of methamphetamine. The
2211 Target Device was seized from VILLA after the discovery of the methamphetamine, and
23 II VILLA was arrested for the importation of a federally controlled substance. The Target
24 II Device is currently in the possession of Customs and Border Protection, 9495
25 II Customshouse Plaza, San Diego, California 92154.
26              3.    Based on the information below, there is probable cause to believe that a
27 II search of the Target Device will produce evidence of the aforementioned crimes, as
28 II described in Attachments B.

                                                    1
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 1          4.    The information contained in this affidavit is based upon my experience and
 2 II training and consultation with other federal, state, and local law enforcement agents. The
 3 II evidence and information contained herein was developed from my personal investigation
 4 II of this matter and my review of documents, reports, and evidence related to this case.
 5 II Because this affidavit is made for the limited purpose of obtaining a search warrant for the
 611 Target Device, it does not contain all of the information known by me or other federal

 7 II agents regarding this investigation. Instead, it contains only those facts necessary to
 8 II establish probable cause.
 9 II                             EXPERIENCE AND TRAINING
10          5.    I am a Special Agent (SA) employed by the Department of Homeland Security
11 II (DHS), Immigration and Customs Enforcement (ICE), Homeland Security Investigations
12 II (HSI), currently assigned to the multi-agency Operation Alliance in San Diego, California.
13 11 I have been employed as a Special Agent since December 2016. Prior to my tenure with
14 II HSI, I was employed by the United States Border Patrol as both an agent and supervisor
15 II for approximately ten years. I have formal training and experience in the investigation of
16 II multiple federal offenses including the smuggling, trafficking, distribution, sale, and
17 II possession of controlled substances. Throughout the course of my career, I have received
18 II continuous training related to identifying the techniques, methods, and procedures
19 II employed by groups, organizations, companies, corporations, and individuals involved in
20 II the smuggling and trafficking of controlled substances.
21 II       6.    During my time as a law enforcement officer, I have participated in the
22 II investigation of numerous drug-smuggling organizations which have resulted in the
23 11 issuance of search warrants, arrest warrants, and the indictments of persons for such crimes.
24 II Pursuant to my participation in those investigations, I have performed various tasks which
25 II include, but are not limited to: functioning as a case agent investigating individuals
26 II responsible for importing and distributing controlled substances; working as a surveillance
27 II agent observing and recording movements of subjects suspected of trafficking controlled
28 II substances; participating in the execution of seaxch and arrest warrants relating to

                                                 2
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 1 II controlled substance investigations; and interviewing defendants, witnesses, and
 2 II confidential informants regarding the trafficking of controlled substances. Based on my
 3 II training, experience, and discussions with other law enforcement officers, I am familiar
 4 II with methods and means utilized by drug-trafficking organizations. Specifically, I am
 5 II familiar with the importation of controlled substances into the United States from Mexico;
 6 II the transportation of controlled substances to centralized distribution points such as San
 7 II Diego and Los Angeles; and the distribution of controlled substances to destination cities
 8 II throughout the United States. Additionally, I know when controlled substances reach their
 9 II destination cities, they are routinely distributed by wholesale dealers to mid-level
10 II distributors, and finally to street-level users.
11          7.     Based upon my training and experience and consultations with law

12 enforcement officers experienced in drug smuggling and trafficking investigations, and all
13 the facts and opinions set forth in this affidavit, I submit the following:
14
          a.    Drug smugglers and traffickers 'Yill use cellular/mobile telephones because
15
                they are mobile and they have instant access to telephone calls, text, web,
16              and voice messages;
17
            b.     Drug smugglers and traffickers will use cellular/mobile telephones because
18                 they are able to actively monitor the progress of their illegal cargo while the
                   conveyance is in transit;
19
20          C.     Drug smugglers and traffickers and their coconspirators will use
21                 cellular/mobile telephones because they can easily arrange and/or determine
                   what time their illegal cargo will arrive at predetermined locations;
22
23          d.     Drug smugglers and traffickers will use cellular/mobile telephones to direct
                   drivers to synchronize an exact drop off and/or pick up time of their illegal
24                 cargo;
25
            e.     Drug smugglers and traffickers will use cellular/mobile telephones to notify
26                 or warn their coconspirators of law enforcement activity to include the
27                 presence and posture of marked and unmarked units as well as the
                   operational status of checkpoints and border crossings; and
28
            f.     Drug smugglers and traffickers and their coconspirators often use
                                                    3
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                       cellular/mobile telephones to communicate with load drivers who transport
 1
                       their narcotics and/or drug proceeds.
 2
                8.     Based upon my training and experience and consultations with law
 3
          enforcement officers experienced in drug smuggling and trafficking investigations, and all
 4   II
          the facts and opinions set forth in this affidavit, I know that cellular/mobile telephones can
 5
          and often do contain electronic records, phone logs and contacts, voice and text
 6
 7 communications, and data such as emails, text messages, chats and chat logs from various
 8 third-party applications, photographs, audio files, videos, and location data.                  This
 9 information can be stored within disks, memory cards, deleted data, remnant data, slack
10 space, and temporary or permanent files contained on or in the cellular/mobile telephone.
11        Specifically, I know based upon my training, education, and experience investigating drug
12 smuggling and trafficking conspiracies that searches of cellular/mobile telephones yields
13 ev1.dence:
14

15              a.     tending to indicate efforts to import methamphetamine, or some other
                       controlled substances from Mexico into the United States, or possess
16                     and/or transport with the intent to distribute methamphetamine or
17                     controlled substances within the United States;

18              b.   _ tending to identify accounts, facilities, storage devices, and/or services-
19                     such as email addresses, IP addresses, and phone numbers-used to
                       facilitate the importation of methamphetamine, or some other controlled
20                     substances from Mexico into the United States, or possession and/or
21                     transportation with the intent to distribute methamphetamine or controlled
                       substances within the United States;
22
23              C.     tending to identify coconspirators, criminal associates, or others involved
                       in importation of methamphetamine, or some other controlled substances
24                     from Mexico into the United States, or possession and/or transportation
25                     with the intent to distribute methamphetamine or controlled substances
                       within the United States;
26
27              d.     tending to identify travel to or presence at locations involved in the
                       importation of methamphetamine, or some other controlled substances
28                     from Mexico into the United States, or possession and/or transportation

                                                      4
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                  with the intent to distribute methamphetamine or controlled substances
 1
                  within the United States, such as stash houses, load houses, or delivery
 2                points;
 3
           e.    tending to identify the user of, or persons with control over or access to,
 4               the subject telephone; and/or
 5
           f.    tending to place in context, identify the creator or recipient of, or establish
 6               the time of creation or receipt of communications, records, or data involved
                 in the activities described above.
 7
           9.    Based on my training and experience, and conversations with other law
 8
     enforcement officers who investigate drug smuggling and trafficking, I know that drug
 9
     conspiracies often require detailed and intricate planning to successfully evade detection.
10
     Consequently, drug conspiracies often involve planning and coordination for several
11
     months-this planning often occurs through mobile telephones. Additionally, based on
12
     my training and experience, and conversations with other law enforcement officers who
13
     investigate drug smuggling and trafficking, I know that coconspirators are often unaware
14
     when a fellow coconspirator has been arrested and will attempt to communicate with that
15
     coconspirator via mobile telephone after his or her arrest to determine the whereabouts of
16
     drugs that are being transported. For that reason, I am requesting permission to search the
17
     Target Devices from January 1, 2019, up to and including April 2, 2019.
18
19                     FACTS SUPPORTING PROBABLE CAUSE

20         10.    According to his report, on April 2, 2019, Customs and Border Protection
21   Officer (CBPO) Rod Concepcion was performing vehicle pre-primary inspections at the
22 San Ysidro Port of Entry (POE) in San Diego, California. At approximately 12:41 pm,
23 VILLA approached CBPO Concepcion in lane twelve driving the Vehicle. VILLA was the
24 driver and sole occupant of the vehicle. CBPO Concepcion approached the vehicle and
25 asked VILLA where she was traveling. VILLA stated she was traveling to "Plaza Las
26 Americas." CBPO Concepcion received two negative Customs declarations from VILLA.
27 CBPO Concepcion requested VILLA unlock the vehicle's doors including the rear cargo
28 area.

                                                 5
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 1          11.       CBPO Concepcion walked to the driver's side rear quarter panel and tapped
 211 his knuckles on the metal. CBPO Concepcion heard a solid noise. CBPO Concepcion
 3 II inspected the driver's side rear quarter panel with a density meter and received an
 4 II abnormally high reading. CBPO Concepcion probed the driver's side rear quarter panel
 5 II from inside the cargo area but was unable to see inside. CBPO Concepcion instructed
 6 II VILLA to drive the vehicle through the Z Portal scanner. At approximately 12:47 pm,
 7 II CBPO Jesus Saucedo screened the vehicle utilizing a Z Portal scanner. According to his
 8 II report, CBPO Saucedo observed anomalies in the rear doors, rear quarter panels, and gas
 9 tank.
10          12.       Per CBPO Daniel Howard's report, at approximately 12:51 pm, CBPO
11 II Howard was performing vehicle secondary inspections with his assigned Human and
12 II Narcotics Detection Dog (NHDD). CBPO Howard inspected the vehicle and observed his
13 11 NHDD alert to the presence of a trained odor emanating from underneath the rear portion
14 II of the vehicle.
15          13.       According to a report written by CBPO Daniel Tuck, at approximate Iy 1: 15
16 11 pm, CBPO Tuck conducted a detailed inspection of the vehicle in the secondary lot. CBPO
17 II Tuck searched the vehicle and discovered a total of94 plastic-wrapped packages concealed
18 II in the vehicle. CBPO Tuck discovered 30 packages in the firewall, 29 in the driver's side
19 II quarter panel, 20 in the passenger's side quarter panel, 6 in the driver's side rear door, and
20 119 in the passenger's side rear door. Each package contained a white crystalline substance
21 II which later tested positive for the properties of methamphetamine. The 94 packages
22 II weighed a combined 47.76 kilograms (105.25 pounds). (Later laboratory tests confirmed a
23 II weight of 41.5 kilograms of actual methamphetamine.) At approximately 2:40 pm, CBPO
24 II Tuck arrested VILLA for importing controlled substances into the United States (US) and
25 II notified the undersigned, Homeland Security Investigations (HSI) Special Agent (SA)
26 II Jeffrey Rich.
2711        14.       At approximately 3:08 pm, HSI SA John Martinez and I escorted VILLA to
28 II an interview room with audio and video recording equipment. At approximately 3:18 pm,

                                                  6
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 1 II SA Martinez advised VILLA of her constitutional rights, per Miranda, in the Spanish
 2 II language. VILLA stated she understood her rights, waived her right to consult an attorney
 3 II prior to making any statements, and agreed to speak with SA Martinez and me.
 411         15.   During the post-Miranda interview, VILLA denied knowledge of the
 5 II controlled substances concealed inside the Vehicle. VILLA stated she was traveling to the
 6 II United States to shop and meet with her friend Andrea RAMIREZ. VILLA acknowledged
 7 II ownership of the Target Device and accessed it in our presence. VILLA retrieved
 8 II RAMIREZ's telephone number from the Target Device and provided it to SA Martinez
 911 and me. SA Martinez called RAMIREZ's telephone number which was answered by an
10 II unidentified person who stated there was no "Andrea" present and informed SA Martinez
11 II he had called a pizza restaurant. I conducted open-source inquiries on the telephone number
12 II and determined it belonged to a pizza restaurant in Tijuana, B.C., Mexico.
13 II        16.   I have reviewed VILLA's crossing records, which reveal that VILLA entered
1411 the United States from Mexico approximately 11 times between January 1, 2019 and April
15 112, 2019. Records revealed all 11 of those border crossings were made in the Vehicle.
16 II        17.   Based upon my experience and investigation in this case, there is probable
17 II cause to believe that VILLA, as well as other persons currently unknown, were involved
18 II in an ongoing conspiracy to import and transport methamphetamine. Based on my
19 II experience investigating drug smugglers and traffickers, there is probable cause to believe
20 II that VILLA used the Target Device to coordinate with coconspirators regarding the
21 II importation, transportation, and distribution of methamphetamine, and to otherwise further
22 II this conspiracy both inside and outside of the United States. Accordingly, there is also
23 II probable cause to believe that recent calls made and received, telephone numbers, contact
24 II names, electronic mail (e-mail) addresses, appointment dates, text messages, pictures and
25 II other digital information are stored in the memory of the Target Device, which may
26 II identify other persons involved in drug smuggling and trafficking activities.
2711         18.   During her interactions with me, VILLA consented to the download of the
28 II Target Device. I have not considered the information downloaded on that prior occasion

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 1 II in forming my belief that probable cause exists to forensically search the Target Device.
 2                                     METHODOLOGY
 3           19.    It is not possible to determine, merely by knowing the cellular/mobile
 4 II telephone's make, model and serial number, the nature and types of services to which the
 5 II device is subscribed, and the nature of the data stored on the device. Cellular/mobile
 6 II devices today can be simple cellular telephones and text message devices, can include
 7 II cameras, can serve as personal digital assistants and have functions such as calendars and
 8 II full address books and can be mini-computers allowing for electronic mail services, web
 9 II services and rudimentary word processing.       An increasing number of cellular/mobile
10 II service providers now allow for their subscribers to access their device over the internet
11 II and remotely destroy all of the data contained on the device. For that reason, the device
1211 may only be powered in a secure environment or, if possible, started in "flight mode" which
13 II disables access to the network. Unlike typical computers, many cellular/mobile telephones
14 II do not have hard drives or hard drive equivalents and store information in volatile memory
15 II within the device or in memory cards inserted into the device. Current technology provides
16 II some solutions for acquiring some of the data stored in some cellular/mobile telephone
17 II models using forensic hardware and software. Even if some of the stored information on
18 II the device may be acquired forensically, not all of the data subject to seizure may be so
19 II acquired.    For devices that are not subject to forensic data acquisition or that have
20 II potentially relevant data stored that is not subject to such acquisition, the examiner must
21 II inspect the device manually and record the process and the results using digital
22 II photography. This process is time and labor intensive and may take weeks or longer.
23 II       20.     Following the issuance of this warrant, I will collect the Target Device and
24 II subject them to analysis. All forensic analysis of the data contained within the telephone
25 II and its memory cards will employ search protocols directed exclusively to the
26 II identification and extraction of data within the scope of this warrant.
27 II       21.     Based on the foregoing, identifying and extracting data subject to seizure
28 II pursuant to this warrant may require a range of data analysis techniques, including manual

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 1 II review, and, consequently, may take weeks or months. The personnel conducting the
 2 II identification and extraction of data will complete the analysis within ninety (90) days,
 3 II absent further application to this court.
 4                                        CONCLUSION
 5         22.    Based on all of the facts and circumstances described above, there is probable
 611 cause to conclude that VILLA used the Target Device to facilitate violations of Title 21 ,
 7 II United States Code, Sections 952, 960, and 963.
 8         23.    Because the Target Device was promptly seized during the investigation of
 9 II VILLA's smuggling activities and have been securely stored, there is probable cause to
10 II believe that evidence of illegal activities committed by VILLA continues to exist on the
11 II Target Device. Based on the above facts and my training and experience, there is probable
12 II cause to believe that evidence of violations of Title 21 , United States Code, Sections 952,
13 11960, and 963 will be found on the Target Device between January 1, 2019 up to and
1411 including April 2, 2019.
15 II //
16 II
17 II
18 II
19 II
20 II
21    II
22 II
23    II
24 II
25    II
26 II
27 II
28 II

                                                  9
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 1           24.   WHEREFORE, I request that the court issue a warrant authorizing law
 2 II enforcement agents and/or other federal and state law enforcement officers to search the
 3 II items described in Attachments A, and to seize items listed in Attachments B, using the
 411 methodology described above.
 5
 6                                                   h~        y knowledge and belief.

 7

 8
                                            Jeffrey Rich
 9
                                            HSI Special Agent
10
1111
       Subscribed and sworn to before me this   ~         day of November, 2019.
12
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14
           \A¼0t~ . );jt>~
15 11 The Honorable Allison H. Goddard
16 II United States Magistrate Judge

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